          Case 1:18-cv-00295-LY Document 21 Filed 06/04/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., and
CONSUMER SERVICE ALLIANCE OF TEXAS,

                             Plaintiffs,
v.
                                                    Civil Action No. 1:18-cv-295-LY
CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL MULVANEY,

                             Defendants.


                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Public Citizen, Inc., Americans for

Financial Reform Education Fund, and National Consumer Law Center state that they are

nonprofit, non-stock corporations. They have no parent corporations, and no publicly held

corporations have an ownership interest in them.

       Center for Responsible Lending states that it is a nonprofit, non-stock corporation. Its

parent corporation is Center for Community Self-Help, a nonprofit, non-stock corporation. No

publicly held corporations have an ownership interest in Center for Responsible Lending or the

Center for Community Self-Help.

Dated: June 4, 2018                                Respectfully submitted,

                                                   /s/ Aaron Johnson

                                                   Aaron Johnson (TX Bar No. 24056961)
                                                   Equal Justice Center
                                                   510 S. Congress Avenue, Suite 206
                                                   Austin, Texas 78704
                                                   (512) 474-0007
                                                   Fax: (512) 474-0008
                                                   ajohnson@equaljusticecenter.org

                                               1
Case 1:18-cv-00295-LY Document 21 Filed 06/04/18 Page 2 of 3




                                 Rebecca Smullin (DC Bar No. 1017451)
                                 Public Citizen Litigation Group
                                 1600 20th Street NW
                                 Washington, DC 20009
                                 (202) 588-1000
                                 Fax: (202) 588-7795
                                 rsmullin@citizen.org

                                 Counsel for Movants Public Citizen, Inc.,
                                 Americans for Financial Reform Education
                                 Fund, Center for Responsible Lending, and
                                 National Consumer Law Center




                             2
              Case 1:18-cv-00295-LY Document 21 Filed 06/04/18 Page 3 of 3



                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 4, 2018, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to counsel for all

parties.

                                                                 /s/ Aaron Johnson

                                                                 Aaron Johnson




                                                     3
